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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                      )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     )       No. 18-CV-5369
                                              )
CAMBIUM NETWORKS, INC.                        )       Judge Feinerman
CAMBIUM NETWORKS, LTD.                        )
BLIP NETWORKS, INC.                           )
WINNCOM TECHNOLOGIES, INC.,                   )
SAKID AHMED, and                              )
DMITRY MOISEEV,                               )
                                              )
               Defendants.                    )

     JOINT MOTION FOR LEAVE TO EXCEEED LOCAL RULE 7.1 PAGE LIMIT

       Plaintiff Ubiquiti Networks, Inc. (“Ubiquiti”) and Defendants Cambium Networks, Inc.

(“Cambium”), Cambium Networks, Ltd., Blip Networks, Inc., Winncom Technologies, Inc., Sakid

Ahmed, and Dmitry Moiseev (“Defendants”) jointly request leave to file briefs in support of and

in opposition to Defendants’ forthcoming motion to dismiss the First Amended Complaint, which

exceed the 15 page limit of Local Rule 7.1.

       1.      Ubiquiti filed the initial complaint in this action (the “Initial Complaint”) on August

7, 2018. (DKT #1). Defendants filed a motion to dismiss the Initial Complaint on October 19,

2018 (DKT #37), which the Court denied in part (as to Rule 12(b)(1)) and granted in part (as to

Rule 12(b)(6)) on May 22, 2019, resulting in dismissal without prejudice of all claims in the Initial

Complaint. (DKT #59).

       2.      Ubiquiti filed an amended complaint (the “Amended Complaint”) on June 18, 2019.

(DKT #65). After reviewing the allegations in the Amended Complaint, Defendants notified the




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Court and Ubiquiti at the status hearing held on June 19, 2019 that they intend to file a motion to

dismiss the Amended Complaint.

       3.      In order to address the breadth of issues raised by the Amended Complaint,

Defendants anticipate requiring an additional 15 pages beyond the 15-page limit set by Local Rule

7.1, and therefore request leave to file a single brief in support of their motion to dismiss that will

not exceed 30 pages. The Court granted a similar request when it granted leave for the parties to

file oversized principal briefs of no greater than 30 pages with respect to Defendants’ motion to

dismiss the original Complaint. (DKT. #31).

       4.      Ubiquiti does not object to Defendants’ request for additional pages for a motion to

dismiss, but Ubiquiti requests an equal extension of the page limit to respond to the motion.

Defendants do not object to Ubiquiti having an equal extension.

       5.      In support of the motion, the parties state as follows:

       6.      Ubiquiti is a publicly traded company that manufactures broadband internet

products for enterprise and wireless internet service provider customers. Cambium also provides

broadband internet products and services to commercial and governmental customers, and

Cambium Networks, Ltd. is its parent company. Blip Networks, LLC provides wireless broadband

internet access to customers in Illinois, and Winncom Technologies distributes networking

products. Sakid Ahmed is Cambium’s Director of Engineering and Dmitry Moiseev is its Principal

System Engineer.

       7.      Ubiquiti has asserted a total of 11 claims for relief against Defendants on the basis

 of allegations relating to Ubiquiti M-series devices, firmware and associated licenses on the one

 hand, and Cambiums’ and other defendants’ conduct with respect to those M-series devices,

 firmware and licenses, on the other hand. Counts are asserted under the Computer Fraud and



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Abuse Act (with three subcounts); the Digital Millennium Copyright Act (with three subcounts);

the Copyright Act; the Lanham Act, asserting a theory of false advertising; the Racketeering

Influenced and Corrupt Organizations Act; and common law claims including breach of contract,

tortious interference with contract, unfair competition, intentional interference with prospective

economic advantage, and misappropriation. The complaint runs 61 pages and includes 299

paragraphs of allegations and includes several supporting exhibits.

       8.      Defendants believe that they cannot adequately address the breadth of issues raised

by the Complaint within the 15-page limit set by Local Rule 7.1, and therefore request leave to file

a single brief in support of their motion to dismiss that will not exceed 30 pages.

       9.      The parties also request that Ubiquiti be granted leave to file in response to

Defendants’ motion a brief that will not exceed 30 pages.




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       Accordingly, the parties jointly request that each side be granted leave to file a supporting

and a response brief that exceed the 15-page limit set by Local Rule 7.1, but which shall not exceed

30 pages.

       Respectfully Submitted

UBIQUITI TECHNOLOGIES, LLC                           CAMBIUM NETWORKS, INC.,
                                                     CAMBIUM NETWORKS, LTD.,
By: /s/ Jason Keener                                 BLIP NETWORKS, INC.,
       One of its attorneys                          WINNCOM NETWORKS, INC.,
                                                     SAKID AHMED, and DMITRY MOISEEV
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2019, I electronically filed the foregoing Joint Motion for
Leave to Exceed Local Rule 7.1 Page Limit with the Clerk of the Court using the CM/ECF
system. I certify that all participants in the case are registered CM/ECF users


                                              /s/ G. Hopkins Guy III

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